                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE

 CORIZON, LLC,                                         )
                                                       )
        Plaintiff,                                     ) No. 3:20-cv-00892
                                                       ) Judge Richardson
 v.                                                    ) Magistrate Judge Frensley
                                                       )
 PRISCILLA WAINWRIGHT, et al.,                         )
                                                       )
        Defendants.                                    )

        JOINT STIPULATION OF DISMISSAL OF CLAIMS WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff and all

Defendants (collectively, the “Parties”), by and through undersigned counsel, submit the following

Joint Stipulation of Dismissal of Claims with Prejudice and state as follows:

       1.        The Parties have resolved all claims involved in this case.

       2.        The Parties hereby stipulate to the dismissal of all claims in this case with prejudice

with each of the Parties bearing its own respective attorneys’ fees, costs, and expenses.

       3.        An Agreed Order of Dismissal is submitted herewith.




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RESPECTFULLY SUBMITTED BY:

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                                CERTIFICATE OF SERVICE

        I certify that on January 3, 2022, the foregoing proposed order was filed using the court’s
Electronic Case Filing system, which will serve notice of such filing on all counsel of record, as
indicated below:
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